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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      CASE NO. 21-cr-175-2, 3, 5 (TJK)
               v.                              :
                                               :
JOSEPH BIGGS,                                  :
                                               :
ZACHARY REHL,                                  :
                                               :
                       and                     :
                                               :
ENRIQUE TARRIO,                                :
                                               :
                       Defendants.             :


         GOVERNMENT’S RESPONSE TO DEFENDANTS REHL AND BIGGS’
          SUPPLEMENTS TO TARRIO’S MOTION TO TRANSFER VENUE

       Defendant Tarrio has moved to transfer venue in this case to the Southern District of

Florida. ECF No. 349. The government filed an opposition on June 2, 2022, and Tarrio filed a

reply on June 9, 2022. ECF Nos. 376, 389. Defendants Biggs and Rehl moved to join Tarrio’s

motion on June 9, 2022, with Rehl including a substantive supplement. ECF Nos. 384, 386. Biggs

moved for leave to file an additional supplement on June 14, attaching a proposed supplement,

which was later docketed by the clerk’s office. ECF Nos. 399, 406. Biggs, Rehl, and Tarrio have

all failed to establish that they “cannot obtain a fair and impartial trial” in this district, Fed. R.

Crim. P. 21(a), and this Court should accordingly deny their motions. 1




1
        This response only addresses those arguments raised by Biggs and Rehl in their
supplemental filings. The government incorporates herein the arguments raised and legal authority
cited in its opposition to Tarrio’s original venue motion. See ECF No. 376.
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                                          ARGUMENT

         Neither Biggs nor Rehl has cited any pretrial publicity to which there has been greater

exposure in the District of Columbia than in the Southern District of Florida or any other district,

nor have they identified any pretrial publicity that cannot be addressed through voir dire. Their

supplemental filings thus do not overcome—alone or in combination with Tarrio’s filings—the

constitutional and statutory preference that trial for this crime shall take place in the state and

district in which it was committed. See U.S. Const. Art. III, § 2, cl.3 & Amend. VI; Fed. R. Crim.

P. 18.

    I.      The Publicity Cited by Biggs and Rehl is National in Scope

         In attempting to establish presumptive prejudice, Rehl cites articles published after the

government returned the Third Superseding Indictment in this case. The publications he cites are

all national in scope, including BLOOMBERG NEWS, THE NEW YORK TIMES, THE WASHINGTON

POST, and The Associated Press, along with a television show on MSNBC. See ECF No. 384 at

2-3. None of those publications is local in scope. 2 Indeed, although the Third Superseding

Indictment received media attention, that attention was truly national—and sometimes

international—in scope. To provide just a few examples of many, articles about the Third



2
         Although THE WASHINGTON POST is of course based in the District of Columbia, it has
national distribution, especially its online edition. THE WASHINGTON POST article cited by the
Rehl is additionally of the type of non-sensational publication—in this case, largely recitation of
allegations in the indictment—that courts have generally found insufficient to require a venue
transfer. See United States v. Haldeman, 559 F.2d 31, 61 (D.C. Cir. 1976). Rehl moreover failed
to cite articles carried in publications in the Southern District of Florida, which is the proposed
district to which venue would be transferred in Tarrio’s motion. See Proud Boys accused of
‘seditious     conspiracy’     in    US     Capitol    riot.   What      is   it?,   available    at
https://www.miamiherald.com/news/nation-world/national/article262214822.html, THE MIAMI
HERALD June 6, 2022 (last visited June 15, 2022); How the Proud Boys Gripped the Miami-Dade
Republican Party, available at https://www.sun-sentinel.com/news/nationworld/ct-aud-nw-nyt-
proud-boys-miami-dade-gop-20220602-ewzvw5vbdzetjbddrpdioasqiu-story.html                     SOUTH
FLORIDA SUN-SENTINEL June 2, 2022 (last visited June 18, 2022).


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Superseding Indictment were published in publications based in the following locations:

            •   France (https://www.france24.com/en/americas/20220607-proud-boys-charged-
                with-seditious-conspiracy-for-us-capitol-attack);
            •   India     (https://indianexpress.com/article/world/proud-boys-charged-with-
                seditious-conspiracy-in-capitol-riot-7956801/);
            •   Sacramento,       CA      (https://www.kcra.com/article/former-proud-boys-leader-
                seditious-conspiracy-capitol-riot/40209382#);
            •   Lancaster,       PA      (https://www.wgal.com/article/former-proud-boys-leader-
                seditious-conspiracy-capitol-riot/40209382);
            •   Salt Lake City, UT (https://kslnewsradio.com/1969878/proud-boys-charged-with-
                seditious-conspiracy-in-capitol-riot/);
            •   Albuquerque, NM (https://www.koat.com/article/former-proud-boys-leader-
                seditious-conspiracy-capitol-riot/40209382);
            •   Cleveland, OH (https://www.news-herald.com/2022/06/07/proud-boys-charged-
                with-seditious-conspiracy-in-capitol-riot/); and
            •   Orlando, FL (https://www.clickorlando.com/news/local/2022/06/09/florida-
                proud-boys-leader-pleads-not-guilty-to-seditious-conspiracy-in-capitol-riot/).


       Biggs’ supplement fares no better in demonstrating prejudice specific to the District of

Columbia. It focuses on the June 9, 2022, nationally televised hearing of House of Representatives

Select Committee to Investigate the January 6th Attack on the United States Capitol (“HSC”),

noting that the hearing was seen by “20 million Americans.” See ECF 406 at 3. The closest Biggs

comes to alleging that potential jurors in the District of Columbia were more affected than those

of other districts is his statement that 20 million national viewers included an unspecified number

of “lovably dorky, wonky, media-attentive Washingtonians.” ECF No. 406 at 3. Biggs cites

nothing to establish that D.C. residents were more or less likely than those in any other district to

have watched the Congressional hearings. But even if they were, for the reasons set forth below,

neither Biggs nor Rehl has come close to demonstrating that voir dire would be inadequate to

identify and guard against any potential juror bias.

       Biggs suggests that national scope of the publicity does not matter, arguing that Federal

Rule of Criminal Procedure 21(a) “does not require that a better or ‘fairer’ venue exists.” ECF



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No. 406 at 2. But he fails to explain how transfer would be helpful—much less required—if

obtaining an impartial jury would be just as difficult in the transferee district. And the D.C. Circuit

has indicated that pointless transfers are not required. See Haldeman, 559 F.2d at 64, n.43

(observing that “a change of venue would have been of only doubtful value” in a case that received

national coverage).

    II.      Voir Dire Can Adequately Safeguard The Defendants’ Rights to a Fair Trial

          Neither defendant Rehl nor Biggs cites any authority for the proposition that nationally

televised Congressional hearings require a change in venue. Biggs and Rehl both cite Delaney v.

United States, 199 F.2d 107 (1st Cir. 1952), and Rehl cites United States v. Ehrlichman, 546 F.2d

910, 916, n.8 (D.C. Cir. 1976), for the proposition that Congressional hearings held close in time

to a criminal trial regarding the same subject matter may require a continuance. Curiously, neither

defendant seeks a continuance in this motion, and Rehl stated on the record as recently as June 16,

2022, that he opposes the remedy at issue in the two cases he cites. 3 Neither defendant has

presented the Court with any reason to believe that D.C. residents watched these hearings at a

greater rate than the nation as a whole and, moreover, even if D.C. residents did watch the hearings

at a disproportional rate, neither defendant has proffered any reason to believe that 12 impartial

jurors cannot be seated out of the hundreds of thousands of residents who did not watch the

hearings.



3
        Biggs requested a continuance after he filed this supplement, ECF No. 403, and the
government does not oppose. ECF No. 404. On June 20, 2022, Rehl filed a response to Biggs’
motion to continue, in which he requested additional time to determine whether to join Biggs’
motion, stating that his only hesitation would be the amount of time he would remain incarcerated.
ECF No. 411 at 1. That filing also lists a number of other articles that Rehl considers to be
prejudicial pretrial publicity. Id. at 2-6. The HSC hearing he cites, as well as the other
publications, are all national in scope, including four nationally televised shows and a video
published in the NEW YORK TIMES. Nothing in Rehl’s filing suggests prejudice localized on the
District of Columbia.


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       The 20 million Americans who tuned in to the June 9 prime time hearings represent only

six percent of the U.S. population. If D.C. residents tuned in at roughly the national average, it

would mean that approximately 42,000 residents out of just under 700,000 watched the hearings,

leaving approximately 658,000 who did not watch. If the Court approximates the jury pool by

using the number of registered voters (489,000), then by this estimate, 447,000 potential D.C.

jurors did not watch the hearings. Even if the Court assumes arguendo that D.C. residents tuned

in at a rate four times the national average—and undersigned counsel knows of no reason to make

that assumption—it would still leave 532,000 residents (or 321,000 registered voters) who did not

tune in. There is no reason to believe that the Court cannot seat 12 impartial jurors out of hundreds

of thousands available.

       Ehrlichman in particular forecloses the defendants’ requested relief. In the same footnote

cited by Rehl, the D.C. Circuit agreed with the government’s position here that “the proper

occasion” for determining whether it is possible to select a fair and impartial jury “is upon the voir

dire examination.” Ehrlichman, 546 F.2d at 916 n.8 (quoting Jones v. Gasch, 404 F.2d 1231,

1238-39 (D.C. Cir. 1967)). The Circuit moreover made clear that the proper way to address

whether voir dire is unsatisfactory in a particular case is to “look to the results of the voir dire for

indication of any ‘pattern of deep and bitter prejudice’ that would bring into question the veracity

and reliability of the jurors’ representations of impartiality.” Id. (citing Jones, 404 F.2d at 1238-

39). The government has already shown that this type of prejudice has been lacking from the jury

panels called to date in January 6th cases. See ECF No. 376 at 26-30.

       United States v. Haldeman, 559 F.2d 31 (D.C. Cir. 1976), further forecloses Biggs’ and

Rehl’s positions. The majority in that case explicitly rejected a comparison between alleged

prejudice based on high-profile Congressional proceedings and the presumptive prejudice present




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in Rideau v. Louisiana, 373 U.S. 723 (1963). Haldeman, 559 F.2d at 62, n.35. The majority

declined to presume prejudice even though eight of the twelve jurors in Haldeman had viewed

some or part of the Congressional hearings at issue. See id. at 152 (MacKinnon, J., concurring in

part and dissenting in part). As the majority observed, “the network news programs and legislative

hearings” were “national in their reach,” and “[s]candal at the highest levels of the federal

government is simply not a local crime of peculiar interest to the residents of the District of

Columbia.” Haldeman, 559 F.2d at 64, n.43. Thus, “a change of venue would have been of only

doubtful value.” Id. The same is true here, where the congressional hearings have been nationally

televised, and the events of January 6 are of national interest.

       The issues raised in Biggs’ supplement regarding the HSC hearings are adequately—and

better—dealt with through focused voir dire examination, such as asking specifically whether any

of the veniremen watched the hearing at issue, and/or granting the continuance Biggs has

requested, rather than through the extreme step of transferring the case to the Southern District of

Florida. 4 Indeed, given the national importance of the hearings, it is not at all clear that whatever

prejudice may have formed in potential jurors’ minds as to defendant Biggs is of any greater

magnitude in the District of Columbia than it is in the Southern District of Florida or anywhere

else, and a continuance and/or focused voir dire may be necessary no matter the venue.




4
        There have been additional hearings since Biggs filed his supplement, at least one of which
included a reference to co-defendant Pezzola and a statement regarding killing Vice President
Pence. The public hearings are currently scheduled to continue through June, with the release of
transcripts reportedly scheduled for September. As noted in the government’s response to Biggs’
motion to continue, ECF No. 404, the government does not oppose a continuance based on the
unavailability of the transcripts. However, for the reasons stated herein, a transfer of venue is
inappropriate.



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                                         CONCLUSION

       Biggs, Rehl, and Tarrio have failed to establish that a change in venue is appropriate. The

national scope of the coverage of the Third Superseding Indictment and the HSC hearings means

that any juror bias is not limited to the District of Columbia, and the use of focused voir dire and

a potential continuance of the August trial date would suffice to identify and root out any potential

bias. The defendants’ request to transfer venue should thus be denied. 5

                                              Respectfully submitted,

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5
        Rehl asked permission to “supplement the change of venue motion [with] four separate
surveys of the potential juror pool in the District of Columbia conducted by defendants in other
January 6 cases that shed light on the need for a change of venue.” ECF No. 384 at 7. He neither
attached any surveys to his supplement, nor did he file any additional supplements. The Court
should thus not consider any juror surveys other than the two originally cited by Tarrio, and for
the reasons stated in the government’s opposition to Tarrio’s motion, ECF No. 376 at 13-26, the
Court should not accord either survey much weight in its analysis.


                                                 7
